              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                               2:11 cr 22-11


UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )            ORDER
                                                )
LARRY MICHAEL WATKINS,                          )
                                                )
                 Defendant.                     )
__________________________________              )


        THIS MATTER coming on to be heard before the undersigned, pursuant to a

motion filed by counsel for Defendant entitled “Motion to Reconsider

Bond/Detention” (#102). At the call of this matter on for hearing it appeared that

Defendant was present and represented by Dennis Maxwell, attorney in the office of

Jason R. Hayes, attorney for Defendant.        The government was present through

Assistant United States Attorney David Thorneloe. From the evidence presented and

from the arguments of counsel, the undersigned makes the following findings.

        Findings. The undersigned held a detention hearing regarding the detention of

Defendant on August 15, 2011. After hearing evidence, the undersigned entered an

Order detaining Defendant. The detention order has been filed in this matter on

August 15, 2011 with an addendum filed on August 23, 2011. (#49 & 49-1)

        Defendant did not call any witness to present testimony in regard to defendant’s

motion to reconsider. Mr. Maxwell proffered to the Court that Defendant has been in



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federal custody for more than 30 days and Defendant is married and has family in the

area that will insure that he appears in Court.

        The government presented the testimony of Dan Guzo, a special agent with the

Drug Enforcement Agency. Agent Gusio testified that after the detention hearing was

held in regard to the issue of detention of the Defendant on August 15, 2011 he had

continued his investigation. Agent Guzo further testified that a co-defendant had

testified that Defendant acted as a distributor of methamphetamine for the co-

defendant. The testimony described that Defendant was selling between five to six

ounces of methamphetamine every other day for over a year. Agent Guzo further

testified that the co-defendant had stated that over 1,000 pounds of methamphetamine

had been distributed and the retail cost of an ounce of methamphetamine was

approximately $2,000.00.

        Discussion. 18 U.S.C. § 3142(f)(2) provides in regard to a detention hearing

that:

        The hearing may be reopened, before or after a determination by the
        judicial officer, at any time before trial if the judicial officer finds that
        information exists that was not known to the movant at the time of the
        hearing and that has a material bearing on the issue of whether there are
        conditions of release that would reasonably assure the appearance of
        such person as required and the safety of any other person and the
        community.

        The evidence presented in this case by Defendant through the proffer does not



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show there has been a change of circumstances regarding the detention of Defendant.

This Court entered a detailed Order regarding the detention of Defendant.

Specifically, the Court considered the fact that Defendant’s criminal record showed

four previous felony convictions involving controlled substances. The evidence

presented by the government, on the other hand, now shows that Defendant was

intimately involved in the conspiracy and was selling what was, in this Court’s

experience, a large amount of methamphetamine and distributing it in the Western

District of North Carolina. The undersigned finds that the presumption of detention

as provided for under 18 U.S.C. § 3142(e)(3) has not been rebutted and the evidence

now shows even more compelling reasons to detain Defendant.             As a result,

Defendant’s motion for reconsideration has been considered and a hearing granted,

but the undersigned will order that Defendant continue to be detained pending further

proceedings in this matter.



                                     ORDER

      IT IS, THEREFORE, ORDERED that the motion entitled “Motion to

Reconsider Bond/Detention” (#102) is hereby ALLOWED and the undersigned has

reconsidered the issue of detention of Defendant and has determined enter an order

continuing the detention of Defendant pending further orders of the Court.



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                                Signed: October 5, 2011




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